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11    Attorneys for Plaintiff ALS Scan, Inc.
12
13                        UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
15
      ALS SCAN, INC., a Maryland                  Case No.: 2:16-cv-05051-GW-AFM
16    corporation,                                NOTICE OF HEARING ON
17                                                MOTION AND MOTION FOR
                  Plaintiff,                      PARTIAL SUMMARY JUDGMENT
18                                                AGAINST DEFENDANT
                                                  CLOUDFLARE INC.
19       vs.
                                                  Filed Concurrently: Memorandum;
20
      CLOUDFLARE, INC., a Delaware                Spillane Declaration; Easton
21    corporation, et al.,                        Declaration; Walsh Declaration; Penn
22                                                Declaration; Statement of Undisputed
                   Defendants.                    Issues; Notice of Manual Filing;
23                                                Proposed Order
24
                                                  Date: March 5, 2018
25
                                                  Time: 8:30 a.m.
26                                                Place: Courtroom 9D
27                                                       350 W. 1st Street
                                                         Los Angeles, CA
28


                                 ALS MSJ – Cloudflare - Notice
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  1         TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
  2         PLEASE TAKE NOTICE that on March 5, 2018, at 8:30 a.m., in
  3   Courtroom 9D of the above-entitled court, located at 350 W. 1st Street, Los
  4   Angeles, CA, Plaintiff ALS Scan, Inc. (“ALS”) will, and hereby does, move for
  5   partial summary judgment against Defendant Cloudflare Inc. (“Cloudflare”).
  6   Fed. R. Civ. P. 56(a).
  7         The motion will be made on the grounds that no reasonable juror could
  8   fail to find Cloudflare contributorily liable for infringement of ALS’s
  9   copyrights on Cloudflare’s client’s sites. The motion will also be made on the
10    grounds that: a) Cloudflare does not enjoy a safe harbor for copyright
11    infringement under 17 U.S.C. § 512(a) because Cloudflare’s contributory
12    liability does not arise from passive conduit operations; b) Cloudflare does not
13    enjoy a safe harbor for copyright infringement under 17 U.S.C. § 512(b)
14    because that safe harbor pertains to caching content for later queries by the
15    service providers own users, whereas Cloudflare caches content for later
16    retrieval by the users of other service providers; and c) in any event Cloudflare
17    has failed to meet the conditions for safe harbor eligibility under 17 U.S.C. §
18    512(i), by failing to either adopt or reasonably implement a policy of
19    termination of the accounts of repeat infringers.
20          The motion will be based upon this notice, the Memorandum and
21    Declarations of Sarah Walsh, Eric Penn, Steve Easton and Jay Spillane, and the
22    Separate Statement and Order, the Depositions of Cloudflare personnel and the
23    materials filed manually, all submitted concurrently, the pleadings in this case
24    and any other matter that the Court may consider at the hearing.
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                                  ALS MSJ – Cloudflare - Notice
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  1         This motion is made following the conference of counsel pursuant to LR
  2   7-3 which took place on December 6, 2017.
  3
  4   DATED: January 30, 2018               SPILLANE LAW GROUP PLC
                                            GHALLAGHER & KENNEDY P.A.
  5
  6
  7                                         By: _____________________________
  8                                                     Jay M. Spillane
                                            Attorneys for Plaintiff ALS Scan, Inc.
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                                ALS MSJ – Cloudflare - Notice
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this action. My business address is: 468 N. Camden Drive, Second Floor,
Beverly Hills, CA 90210-4507. A true and correct copy of the foregoing document entitled (specify):
NOTICE OF HEARING ON MOTION AND MOTION FOR PARTIAL SUMMARY
JUDGMENT AGAINST DEFENDANT CLOUDFLARE INC. will be served or was served (a) on
the judge in chambers in the form and manner required by Local Rules and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and Local Rules, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) January 30, 2018, I checked the CM/ECF docket for this action and determined that the following persons are on
the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Gary L. Bostwick– gbostwick@B1Law.com                           Colin TJ O’Brien – tm@partridgepartnerspc.com
Kevin S. Toll – kevin@silversteinlegal.com                      John L. Ambrogi – jla@partridgepartnerspc.com
Lawrence G. Walters – larry@firstamendment.com                  Daniel L Rogna daniel@partridgepartnerspc.com
Corey D. Silverstein – corey@silversteinlegal.com               Paul Supnick – paul@supnick.com
Rachel Kassabian – rachelkassabian@quinnemanuel.com             Raymond Katrinak – pkatrinak@kernanlaw.net
Carolyn M. Homer – carolynhomer@quinnemanuel.com                Ryan Carreon – rcarreon@kernanlaw.net
Mark Thomas Gray markgray@quinnemanuel.com                      Stephen M Kernan – kernanlaw@gmail.com
Armen Nercessian anercessian@fenwick.com                        John P Flynn john.flynn@gknet.com
Jedediah Wakefield jwakefield@fenwick.com                       Kevin D Neal kevin.neal@gknet.com
Sapna S Mehta smehta@fenwick.com

                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) January 30, 2018, I served the following persons and/or entities at the last known addresses in this case by
placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.

                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling Local Rule, on (date) January 30, 2018, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Served by Overnight Mail or Attorney Service
Hon. George H. Wu
U.S. District Court
         st
350 W. 1 Street
Courtroom 9D
Los Angeles, CA 90012                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/30/2018                   Jessie Gietl

 Date                     Printed Name                                         Signature
